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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                                Case No. 0:24-cv-60834-Singhal

   WERNER JACK BECKER, DANA
   GUIDA, individually and on behalf of
   others similarly situated,

          Plaintiffs,

   v.

   CITIGROUP INC. d/b/a CITIBANK and
   CITIBANK, N.A.,

          Defendants.




        MEMORANDUM IN SUPPORT OF CITIGROUP INC. AND CITIBANK, N.A.’S
                   INCORPORATED MOTION TO DISMISS
                  PURSUANT TO RULE 12(B)(1) AND 12(B)(6)
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         Defendants Citigroup Inc. and Citibank, N.A. (“Citibank”) move to dismiss the Complaint

  (ECF No. 1) with prejudice under Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6).

                                          INTRODUCTION

         Plaintiffs cannot plead a particularized injury-in-fact that is traceable to Citibank’s ATM

  Community Network program, or redressable in this case. Thus, Plaintiffs lack Article III standing

  to pursue claims under 42 U.S.C. § 1981 under well-established standards the Supreme Court

  repeatedly and recently has emphasized. Enforcing these standing rules keeps the judiciary in the

  lane established for it by the Framers—adjudicating actual cases or controversies between proper

  parties—and prevents it from becoming a forum for abstract ideological grievances. Food & Drug

  Admin. v. All. for Hippocratic Med., 602 U.S. 367, 386 (2024) (sincere “legal, moral, ideological,

  and policy concerns do not suffice” for “Article III standing”).

         Section 1981 prohibits discrimination in the making or enforcement of contracts. The

  Eleventh Circuit just reaffirmed that to have Article III standing for a Section 1981 claim, the

  claimant must be “able and ready” to enter into a contract from which he claims he was excluded

  on account of his race. Am. All. for Equal Rts. v. Fearless Fund Mgmt., LLC, 103 F.4th 765, 772–

  75 (11th Cir. 2024). None of that is true here.

         Plaintiffs (and the class they seek to represent) are individuals of all races who do not claim

  they face any discrimination on account of their own race. Nor do Plaintiffs themselves seek to

  “make [or] enforce” any contract. 42 U.S.C. § 1981. Instead, Plaintiffs seek to challenge

  Citibank’s ATM Community Network program, under which Citibank contracts with other

  financial institutions, like banks and credit unions, to waive Citibank’s out-of-network ATM fees

  for the customers of those participating institutions. In consideration, those financial institutions

  agree with Citibank, among other things, not to charge their own customers any portion of an ATM

  fee when they use a Citibank ATM, to share data, and to cooperate with Citibank in various ways.
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  Participating institutions may not join the program without signing the contract and undertaking

  such reciprocal contractual obligations to Citibank. And the program offers no such fee waiver on

  a customer-by-customer basis, regardless of race.

         But Plaintiffs have not pleaded, and cannot plead, that their financial institutions—which

  are not parties in this case—would enter into such contracts with Citibank or be willing to

  undertake the obligations required of them to participate in the ATM Community Network

  program. 1 What is more, Plaintiffs cannot, in good faith, plead such allegations because Plaintiffs

  lack any authority to control, or any plausible basis to speak for, the commercial decisions of the

  unnamed institutions where they bank. Nor have Plaintiffs shown that Citibank’s program, which

  is open to non-minority financial institutions, exposes the financial institutions where Plaintiffs

  bank to any unequal treatment. Without those facts about non-party banks, which are not before

  the Court, Plaintiffs cannot meet the basic requirements of establishing a particularized injury-in-

  fact that is both traceable to the challenged conduct and redressable by the Court. As a result, the

  necessary link between Plaintiffs’ alleged injury and Citibank’s conduct is broken, and Plaintiffs

  lack Article III standing, depriving the Court of subject matter jurisdiction.

         Given this disconnect between these Plaintiffs and the Citibank program at issue, it is

  unsurprising that the Complaint also fails to state a Section 1981 claim on the merits, because

  Plaintiffs are the wrong potential parties to challenge the program. Neither of the Plaintiffs (nor a




         1
            For the avoidance of doubt, though Citibank disputes that its ATM Community Network
  program has any race-based eligibility criteria, it accepts the truth of Plaintiffs’ contrary assertion
  for the purposes of both its Rule 12(b)(1) and 12(b)(6) arguments. However, to the extent that
  Plaintiffs’ Complaint suggests that the ATM Community Network only includes minority-owned
  financial institutions, Citibank’s 12(b)(1) motion demonstrates, as a matter of public record of
  which the Court can take judicial notice, that 14 of 50 financial institutions in the Network are not
  “minority owned.”


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   single member of the nationwide class they seek to represent) have alleged or could allege that

   they experienced any discrimination on account of “the plaintiff’s race.” Comcast Corp. v. Nat’l

   Ass’n of Afr. Am.-Owned Media, 589 U.S. 327, 327 (2020). Tacitly conceding this, Plaintiffs do

   not identify their own races, and their proposed class necessarily consists of individuals of literally

   all races and ethnicities, e.g., White, Black, Asian, Hispanic. Plaintiffs cannot save their race

   discrimination claims by relying on a purported “association” with unidentified owners of the

   financial institutions where they bank, because unlike the interracial association cases on which

   they attempt to rely, Plaintiffs cannot allege that their own race matters to challenged practices.

           Plaintiffs’ Section 1981 claim independently fails to state a claim because the allegedly

   discriminatory conduct (i.e., the waiver of fees for those banking with other financial institutions

   that participate in Citibank’s ATM Community Network program) does not concern a legally

   enforceable “contract” under which the Plaintiffs have rights. Per the Supreme Court, “nothing in

   the text of § 1981 suggests that it was meant to provide an omnibus remedy for all racial injustice.

   If so, it would not have been limited to situations involving contracts.” Domino’s Pizza, Inc. v.

   McDonald, 546 U.S. 470, 479 (2006) (Scalia, J).

           Finally, no claims under the California Unruh Act can be brought—in an individual or class

   capacity—by these Plaintiffs who solely allege conduct in Florida, rather than “within the

   jurisdiction of” California. Cal. Civ. Code § 51(b).

                                         LEGAL STANDARDS

           Rule 12(b)(1) Factual Attack to Subject Matter Jurisdiction. “‘Jurisdictional challenges

   under Rule 12(b)(1) are either facial or factual attacks.’” Pembroke Pines v. FEMA, 494 F. Supp.

   3d 1272, 1282 (S.D. Fla. 2020) (Singhal, J.) (citation omitted). When a motion to dismiss presents

   a “factual attack” on a plaintiff’s standing, and thus attacks “subject matter jurisdiction,” “the trial

   court is free to weigh the evidence” to “resolve disputed jurisdictional facts.” Sabater v. Am.

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   Journey (PET), LLC, 570 F. Supp. 3d 1160, 1163 (S.D. Fla. 2021) (Singhal, J.) (quoting Morrison

   v. Amway Corp., 323 F.3d 920, 925 (11th Cir. 2003)). Thus, “no presumptive truthfulness attaches

   to plaintiff’s allegations.” Id. When the jurisdictional facts are disputed with evidence, the plaintiff

   must “carry [the] burden of establishing” standing. Id. at 1164. 2

           Rule 12(b)(6) Motion for Failure to State a Claim. A court should “‘dismiss a complaint

   if it rests only on conclusory allegations, unwarranted factual deductions or legal conclusions

   masquerading as facts.’” Cox v. Nobles, 15 F.4th 1350, 1357 (11th Cir. 2021) (citation omitted).

   For each claim, the plaintiff must set forth plausible factual allegations that establish all “the

   material elements of a cause of action to support recovery under some ‘viable legal theory.’” AFL-

   CIO v. Miami, 637 F.3d 1178, 1186 (11th Cir. 2011) (citation omitted).

           A motion to dismiss for failure to state a claim for relief can rely on the “‘four-corners of

   the complaint and any documents attached,’” as well as on “‘documents that are part of the public

   record.’” Pembroke Pines, 494 F. Supp. 3d at 1282 (citation omitted). “[I]nformation readily

   available on the websites of government agencies” can qualify as a “public record.” Ryzhov v.

   Mayorkas, 634 F. Supp. 3d 1107, 1111 (S.D. Fla. 2022) (collecting cases). Additionally, on a

   motion to dismiss, “a document outside the four corners of the complaint may still be considered

   if it is central to the plaintiff’s claims and is undisputed in terms of authenticity,” such as

   “contracts” not attached to a complaint. Maxcess, Inc. v. Lucent Techs., Inc., 433 F.3d 1337, 1340

   (11th Cir. 2005); accord, e.g., Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364,

   1369 (11th Cir. 1997) (if plaintiff “refers to certain documents in the complaint and those



           2
             Under a facial attack on subject matter jurisdiction (i.e., one solely based on the
   complaint), plaintiffs still must show their complaint “contain[s] sufficient non-conclusory
   allegations to create a plausible inference that subject matter jurisdiction exists.” Pembroke Pines,
   494 F. Supp. 3d at 1282.


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   documents are central to the plaintiff's claim,” a court “may consider the documents part of the

   pleadings”).

                                       FACTUAL BACKGROUND

   I.      Plaintiffs’ Allegations in the Complaint (for Rule 12(b)(6) motion).

           Plaintiffs Werner Jack Becker and Dana Guida, respectively, allege that they were charged

   an out-of-network fee at a Citibank ATM in South Florida in June 2023. Compl. ¶¶ 6–7. They

   allege that the “Citi ATM Community Network” “does not charge out-of-network ATM fees to

   people who bank at financial institutions that are ‘minority owned.’ But it does charge those fees

   to people who bank at other financial institutions.” Id. ¶¶ 3, 13. According to Plaintiffs, they each

   “banked at a ‘non-‘minority-owned’ institution.” Id. ¶ 59; see also id. ¶ 64.

           The Complaint further alleges that the Citi ATM Community Network was announced on

   July 14, 2016. Id. ¶ 13. That July 14, 2016, public announcement is centrally referred to in the

   Complaint, Id. ¶¶ 13, 42, 59, and thus must be considered incorporated by reference. 3 The

   announcement explains that the Network consists of participating financial institutions who

   choose to join the program so that their customers will have free access to Citibank’s branch ATMs

   in select locations in the U.S. 4




           3
             See Brooks, 116 F.3d at 1369 (when plaintiff “refers to certain documents in the complaint
   and those documents are central to the plaintiff’s claim,” a court “may consider the documents part
   of the pleadings”); Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“[T]he court may consider
   a document attached to a motion to dismiss … if the attached document is (1) central to the
   plaintiff’s claim and (2) undisputed”—meaning its authenticity is unchallenged).
           4
             See Press Release, Citigroup Inc., Citi Introduces Citi ATM Community Network (July
   14, 2016), https://www.citigroup.com/global/news/press-release/2016/citi-introduces-citi-atm-
   community-network-providing-surcharge-free-atm-access-to-partner-credit-union-and-minority-
   owned-bank-customers (“The Citi ATM Community Network will mean participating
   organizations have free access to roughly 2,400 branch ATMs in Citi’s markets in the U.S.”) (last
   visited July 9, 2024).


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          Plaintiffs assert two counts, both labeled “Associational Discrimination”: a claim under

   42 U.S.C. § 1981, and a claim under the Unruh Act, a California statute. Id. at 11–12. The

   Complaint seeks certification of two classes (a nationwide class and a California class) of

   “all persons [regardless of race] in the United States who paid ATM fees at a Citi branch location”

   and relief including retrospective damages and an injunction ending the fee-waiver program on a

   going-forward basis. Id. ¶¶ 33, 68–69. In other words, prospectively, Plaintiffs seek to end the

   free transactions for others, rather than seeking to invalidate the industry-standard out-of-network

   fees at Citibank ATMs that they, and the putative class members, pay (and would continue to pay

   if Plaintiffs won). See id. ¶ 12 (“most banks” charge out-of-network fees).

          The Complaint fails to address, among other matters:

      •   Plaintiffs’ own racial or ethnic identity, or whether Citibank has any awareness of it;

      •   the name of, or even kind of, financial institution where Plaintiffs bank as customers and
          that hosted the account they withdrew money from when they used Citibank’s ATM;

      •   any information about the willingness or ability of the financial institutions where
          Plaintiffs bank to join Citibank’s ATM Community Network;

      •   the identity of any supposed “owners” of the unnamed financial institutions where
          Plaintiffs bank as customers or any facts about Plaintiffs’ alleged “association” with
          them;

      •   any information about how Plaintiffs define “minority-owned” for purposes of their
          complaint, or how they claim Citibank uses this term in connection with the challenged
          ATM Community Network program;

      •   any information about how institutions come to participate in the ATM Community
          Network or what, if any, race-neutral criteria exist for inclusion; and

      •   any information about the terms, conditions or contracts financial institutions agree to in
          order to join the ATM Community Network.




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   II.    Additional Facts About Citibank’s ATM Community Network (for Rule
          12(b)(1) motion).

          Citibank’s ATM Community Network is a program under which eligible financial

   institutions may choose to enter into an agreement (i.e., a “Network Agreement”) with Citibank

   regarding ATM transaction fees. Declaration of Marco Chavarin (“Decl.”) ¶¶ 4–6, attached as

   Exhibit 1. If a financial institution wishes to enter the ATM Community Network, it must agree

   to the terms of the contract governing the network. Decl. ¶ 5.

          Those agreements contain mutual contractual promises by both the participating financial

   institutions (i.e., “Network Institutions”) and by Citibank, and the Network Agreements follow a

   common template, examples of which are attached hereto. See Decl. ¶ 7; Decl. Exhibits A & B.

   In exchange for Citibank’s agreement not to charge fees for ATM withdrawals at Citibank retail

   branches from Network Institution accounts, these Network Institutions must agree to several key

   terms. See generally Exs. A & B; Decl. ¶ 6. Among these promises, the Network Institutions

   must: (1) agree not to charge their own customers any portion of an ATM fee when they use a

   Citibank ATM; (2) agree to assist in the distribution of Citibank-approved marketing materials

   relating to Citi’s efforts in the ATM Community Network; (3) approve Citibank’s use of the

   Network Institutions’ trademarks; and (4) agree to data sharing with Citibank and other necessary

   technical conditions; (5) agree to indemnify Citibank under certain circumstances; and (6) agree

   to the exclusive jurisdiction of courts in New York City. See, e.g., Ex. B §§ 2.1 & 2.2(i)a–c, 7.1,

   9.6. An institution that refuses to enter into the Network Agreement may not participate in the

   program. Decl. ¶ 8.

          Currently, 50 financial institutions participate in the ATM Community Network. Decl. ¶ 9;

   see Ex. C (list). Of those financial institutions, only 36 are Minority Depository Institutions

   (MDIs). See Decl. ¶ 10. MDI status includes institutions either 51 percent or greater “owned by



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    minority individuals” or certain institutions where “a majority of the board of directors is minority”

    irrespective of the institution’s ownership. 5 Accordingly, about a third of all ATM Community

   Network participants—14 of 50—are not “minority owned.” Id.; see also Ex. C.

                                               ARGUMENT

  I.       The Court Lacks Jurisdiction Because Plaintiffs Have Not Alleged (or Shown) That
           the Financial Institutions Where They Bank Are “Able and Ready” to Participate in
           the ATM Community Network, as Required for Article III Standing.

           To establish standing, “[a] litigant must prove (1) an injury in fact that (2) is fairly traceable

    to the challenged action of the defendant and (3) is likely to be redressed by a favorable decision.”

    S. Miami v. Governor, 65 F.4th 631, 636 (11th Cir. 2023). As the party “invoking federal

   jurisdiction,” Plaintiffs “bear[] the burden of establishing these [standing] elements.” Lujan v.

   Defenders of Wildlife, 504 U.S. 555, 561 (1992). In order to satisfy the injury-in-fact requirement,

   each plaintiff’s injury needs to be “(a) concrete and particularized, and (b) actual or imminent, not

   conjectural or hypothetical.” Id. at 560. Plaintiffs do not meet these requirements.

           A.      Financial Institutions Where Plaintiffs Bank Must be “Ready and Able” to
                   Join Citibank’s Network.

           In Fearless Fund, the Eleventh Circuit showed how these injury-in-fact requirements apply

   to a Section 1981 claim. See 103 F.4th at 772–75. There, white plaintiff-members of a group sued

   a venture capital fund under Section 1981, alleging that because of each plaintiff’s race, his

    wholly-owned businesses had been excluded from competing in a contractual grant program,

    which “[b]y its terms, [was] open only to ‘black females’—and thus categorically bar[red] non-




           5
             Minority Depository Institutions Program, Federal Deposit Insurance Corporation,
   https://www.fdic.gov/regulations/resources/minority/mdi.html (last visited July 9, 2024).



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   black applicants.” Id. at 777. The court explained that to make out an injury, a claim must meet

   the “able-and-ready” standard as follows:

          [W]e evaluate whether [the plaintiff] has sufficiently demonstrated an intent to
          take the action that she asserts is prohibited. See Gratz v. Bollinger, 539 U.S.
          244, 260–61 (2003). If the plaintiff can show that she is “able and ready” to do
          so, she has demonstrated a concrete injury. Northeastern Fla. Chapter, Assoc.
          Gen. Contractors of Am. v. Jacksonville, 508 U.S. 656, 666 (1993) … [T]he
          plaintiff must do more than baldly assert that she is ‘able and ready’—she must
          also come forward with some ‘supporting facts’ indicating a likelihood that she
          will actually take the proscribed action.

   Id. at 772 (emphasis added).

          The Eleventh Circuit held that the declarations submitted in Fearless Fund satisfied the

   “able and ready” standard based on five key facts:

          [Those declarations] (1) assert that each owner is prepared [to] enter the contest but
          is ‘ineligible because [she is] not a black woman’; (2) describe the size of each
          owner’s business; (3) explain that each owner has met the contest’s non-race-
          related prerequisites; (4) specify how each owner would use the $20,000 prize if
          selected …. And (5) pinpoint when the owners would apply if permitted to
          participate[.]
   Id.

          Here, by contrast, Plaintiffs provide no such allegations, nor can they. Simply put, unlike

   the Fearless Fund plaintiffs who could apply for the program at issue, Plaintiffs here are not “able

   and ready” to enter Citibank’s ATM Community Network program because they, as natural

   persons who do not control financial institutions, cannot apply for that program on their own. Any

   possibility of realizing the benefits of the ATM Community Network depends wholly on whether

   the financial institutions where Plaintiffs bank—third parties not before the Court—would choose

   to apply and be “able and ready” to seek to become part of the program. Absent this condition,

   Plaintiffs cannot conceivably identify any actual or imminent injury-in-fact. And here, there is

   simply no basis for Plaintiffs to make that “able and ready” claim, for two independent reasons.




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          First, the Court cannot conclude the (unknown) financial institutions where Plaintiffs bank

   have any interest in participating in Citibank’s program. Second, the Court cannot conclude those

   (unknown) financial institutions would, even if interested, be willing to enter into the required

   Network Agreement and accept its reciprocal obligations. Unless Plaintiffs’ financial institutions

   both desire to participate and are willing to undertake the reciprocal burdens imposed—facts which

   Plaintiffs have not pleaded and have no ability to plead—they are not “able and ready” to enter the

   program.

          A claim under Section 1981 asserting a lost benefit due to alleged racial criteria must

   present facts supporting a bona fide interest in and ability to “actually take” action to obtain that

   benefit, absent the allegedly unlawful racial criteria. See Fearless Fund, 103 F.4th at 772. So a

   high-school student challenging college-admission criteria lacks a federal case if he does not want

   to attend the defendant school, and likewise a business has only a non-actionable ideological

   grievance with contracting terms if it does not actually want to win the bid. “As Justice Scalia

   memorably said, Article III requires a plaintiff to first answer a basic question: ‘What’s it to

   you?’’’ A. Scalia, The Doctrine of Standing as an Essential Element of the Separation of Powers,

   17 Suffolk U. L. Rev. 881, 882 (1983).” All. for Hippocratic Medicine, 602 U.S. at 386.

          Here, Plaintiffs have not alleged that their financial institutions—competitors of Citibank

   in the marketplace for consumer banking customers—are even interested in joining a Citibank-

   branded program. Nor could they plausibly allege this on behalf of institutions that Plaintiffs

   neither own nor control.

          But even if they could plausibly allege those institutions’ interest, Plaintiffs have not—and

   cannot—allege that their institutions would be willing to enter into the required Network

   Agreement and agree to, among other things, (a) forgo charging out-of-network fees to their own




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   customers when those customers use a Citibank ATM, (b) distribute Citibank’s advertising

   materials and permit the use of their own marks in such materials, (c) participate in data sharing

   or co-marketing activities with Citibank, or (d) otherwise accept the terms and conditions of the

   Network Contracts that are preconditions for participation. Indeed, for a large-peer competitor to

   Citibank, it is unfathomable. 6 And without demonstrating the financial institutions where they

   bank want to and would enter Citibank’s ATM program, with all of the required reciprocal

   obligations, Plaintiffs are mere “bystanders” without any individual concrete injury-in-fact,

   seeking improperly to “come to federal court [simply because] they believe [Citibank] is acting

   contrary to … federal law.” Id. at 1556 7; see also S. Miami, 65 F.4th at 636.

          Additionally, Plaintiffs’ missing facts fail the requirement that even a constitutionally

   sufficient injury-in-fact must be “traceable” to the defendant’s actions and “redressable” by the

   court. See S. Miami, 65 F.4th at 634, 636. As the Supreme Court has long explained and reaffirmed

   this term, “it is a bedrock principle that a federal court cannot redress ‘injury that results from the

   independent action of some third party not before the court.’” Murthy v. Missouri, No. 23-411,

   2024 WL 3165801, at *2 (U.S. June 26, 2024) (quoting Simon v. Eastern Ky. Welfare Rights Org.,

   426 U. S. 26, 37 (1976)); see also Clapper v. Amnesty Int’l, 568 U.S. 398, 414 (2013) (“Plaintiffs

   cannot rely on speculation about ‘the unfettered choices made by independent actors not before



          6
            Financial institutions evaluating whether to join the program may have concerns that
   customers visiting a Citibank ATM may be exposed to signage and other visible promotional
   materials, which exposure the financial institution may prefer to avoid for its own competitive
   reasons.
          7
            The requirement to show a willingness to participate for standing holds even where the
   challenged rule would prevent them from succeeding. See Aaron Private Clinic Mgmt. LLC v.
   Berry, 912 F.3d 1330, 1338 (11th Cir. 2019); see also Baughcum v. Jackson, 92 F.4th 1024, 1035
   (11th Cir. 2024) (prior efforts to obtain guns, and explanation of “dangerous situations for which
   they would like to carry weapons” supported claim of injury from limits on carry license, even
   when actual application would have been a “futile gesture”).


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   the court.’” (quoting Lujan, 504 U.S. at 562)). Under this principle, numerous cases have

   recognized as a standing defect—whether categorized as traceability or redressability—

   “‘guesswork as to how independent decisionmakers will exercise their judgment.’” Murthy, 603

   U.S. at 25 (quoting Clapper, 568 U.S. at 413); see, e.g., Miami Bldg. & Const. Trades Council,

   AFL/CIO v. Sec’y of Def., 493 F.3d 201, 205 (D.C. Cir. 2007) (standing not established “[w]hen

   redress depends” on the cooperation of a third party not before the court).

          The en banc Eleventh Circuit applied this rule to hold that Birmingham minimum-wage

   employees lacked standing to sue to bar the Attorney General’s enforcement of a state law

   preempting local minimum wage laws, because it was “speculative” that plaintiffs’ employers

   would comply with the local law if the suit prevailed. Lewis v. Governor of Ala., 944 F.3d 1287,

   1302–05 (11th Cir. 2019) (en banc); see also Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1254–

   55 (11th Cir. 2020) (relying on Lewis; no standing in suit against the Secretary of State, where “a

   different, independent official” with control over the challenged matter might not follow court-

   ordered guidance from the Secretary). And in Yelapi v. DeSantis, the court determined plaintiffs

   challenging the Florida governor’s failure to bring an American Sign Language interpreter to press

   briefings had not shown an injury “traceable to—or redressable by—the Governor,” because

   “Plaintiffs would not benefit unless … nonparty broadcast companies decided to include that

   interpreter in the broadcast frame.” Yelapi v. DeSantis, 487 F. Supp. 3d 1278, 1283–85 (N.D. Fla.

   2020) (Winsor, J.) (“Here, there is no evidence that would support any finding on how nonparty

   broadcasters would respond”) (citing Lewis, 944 F.3d at 1302). If broadcast media cannot be

   assumed interested in making the (essentially costless) effort of widening their frame for an

   interpreter, so much less could the Court assume that unnamed financial institutions where




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   Plaintiffs bank would agree to the terms, conditions and obligations of the Citibank ATM

   Community Network.

          B.      Financial Institutions Where Plaintiffs Bank Also Need to Encounter a
                  Racial Obstacle.

           All of the above prevents Plaintiffs from establishing Article III standing even if the

   Citibank ATM Community Network only admitted minority-owned institutions. That is because

   Plaintiffs’ claim rests on the intervening decisions of the third-party financial institutions where

   they bank. Unless those institutions want to, and would, join the Network, Plaintiffs could never

   receive fee-free ATM transactions at Citibank. Plaintiffs thus do not assert an injury-in-fact

   traceable to the ATM Community Network they challenge, or redressable by this lawsuit. The

   Court need go no further.

          But Plaintiffs lack standing for an independent reason: they cannot show that, even if those

   financial institutions where they bank wanted to and would join the Network, those institutions

   would then encounter any obstacle to admission based on the race of their owners. Fearless Fund

   characterized this as the requirement to be “able and ready” “to take the action that [the plaintiff]

   asserts is prohibited.” 103 F.4th at 772 (emphasis added).

          In Fearless Fund, this additional requirement was easily satisfied, since the grant program

   had a per se exclusion of anyone but black women. Id. at 772, 777. Here, by contrast, the situation

   is akin to what doomed plaintiffs’ claim in Bruckner v. Biden. 666 F. Supp. 3d 1237, 1241–43

   (M.D. Fla. 2023) (Mizelle, J.). There, plaintiffs (a contractor and its owner) challenged racial

   preferences in the Infrastructure Act. Id. at 1241–43. The court noted that plaintiffs’ “entire theory

   of standing” relied on alleging that “the Infrastructure Act requires race and gender discrimination

   in all DOT-funded contracts.” Id. at 1247. But because the government showed that “States and

   localities [did] not award all Infrastructure Act contracts on a discriminatory basis,” plaintiffs’



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   failure to specify that they would bid on “an identified contract, or set of contracts, that use

   discriminatory means” meant they had not shown that the racial criteria of the program would

   affect their eligibility for a relevant contract, as required for standing. Id. (emphasis added). Those

   plaintiffs could not challenge discriminatory criteria somewhere in a program absent allegations

   as to why they expected “they w[ould] encounter unequal treatment” in their own application. Id.

   (emphasis added). So long as at least some contract bidders would not be subject to the

   Infrastructure Act’s race and gender preferences, the Bruckner plaintiffs lacked Article III standing

   to challenge those. Id.

          Here, irrefutable facts show that the Citibank ATM Community Network admits non-

   minority financial institutions as well. Decl. ¶ 10; see also Ex. C. As public governmental records

   reflect, 14 of the 50 Network Institutions are non-minority institutions. See id. Therefore,

   Plaintiffs cannot simply assert that they bank with “non-‘minority-owned’ institutions”

   (Compl. ¶ 59) to indicate that those institutions will be exposed to unequal treatment. Instead, for

   standing, Plaintiffs must show that—despite many other non-minority institutions gaining

   admission to the Citibank ATM Community Network and unlocking free ATM transactions for

   their customers—the financial institutions where Plaintiffs bank, for some reason, will face an

   obstacle based on race. They have not done so.

                                                   ***

           For all these reasons, the Court should dismiss Plaintiffs’ claims under Rule 12(b)(1) for

   lack of Article III standing.




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 II.          Plaintiffs Fail to State a Claim under Section 1981.

              Similar defects afflict the merits of Plaintiffs’ claims, independently requiring dismissal

   for failure to state a claim under Rule 12(b)(6). Plaintiffs lack an actionable claim for a violation

   of Section 1981 based on discrimination against another entity because these Plaintiffs suffered

   no discrimination on account of their own race. The Supreme Court has warned that “nothing in

    the text of § 1981 suggests that it was meant to provide an omnibus remedy for all racial injustice,”

    or permit “satellite . . . litigation” by those affected downstream by discrimination. Domino’s

    Pizza, 546 U.S. at 479. Rather, Section 1981 addresses those circumstances where a plaintiff

   alleges a “defendant would have responded differently but for the plaintiff’s race.” Comcast, 589

    U.S. at 333 (emphasis added). So-called “associational discrimination” claims under Section 1981

   are no exception to this clear rule. See Parr v. Woodman of the World Life Ins. Co., 791 F.2d 888,

   892 (11th Cir. 1986) (“Where a plaintiff claims discrimination based upon an interracial marriage

    or [interracial] association, he alleges, by definition, that he has been discriminated against

       because of his race.”(emphasis added)).

              A.     Plaintiffs Have Not Pleaded Discrimination Based on Their Own Race.

              In Comcast, the Supreme Court took up the question of what must be proven by a Section

   1981 plaintiff. 589 U.S. at 330. In that case involving a plaintiff that was a “100% African

   American-owned media compan[y],” Justice Gorsuch explained for the Court that Section 1981

   operates as follows:

              The guarantee that each person is entitled to the “same right . . . as is enjoyed by
              white citizens” directs our attention to the counterfactual—what would have
              happened if the plaintiff had been white? . . . If the defendant would have
              responded the same way to the plaintiff even if he had been white, an ordinary
              speaker of English would say that the plaintiff received the ‘same’ legally protected
              right as a white person. Conversely, if the defendant would have responded
              differently but for the plaintiff’s race, it follows that the plaintiff has not received
              the same right as a white person.” (emphasis added).



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   Id. at 330, 333.

          Consistent with this, the Eleventh Circuit long has described that “a [Section 1981] plaintiff

   must allege … the defendant intended to racially discriminate against him.” Jimenez v. Wellstar

   Health Sys., 596 F.3d 1304, 1308 (11th Cir. 2010) (emphasis added).

          In this case, Plaintiffs do not ask the Court to consider “what would have happened if [the

   Plaintiffs] had been white,” or black, or any other racial or ethnic background. Comcast, 589 U.S.

   at 333. Their Complaint does not even plead that the Plaintiffs belong to, or are perceived as

   belonging to (by Citibank or otherwise), any racial group. Nothing in their Complaint suggests

   that “[Citigroup] would have responded differently” in its ATM fee charges “but for the

   plaintiff[s’] race.” Id. 8 Rather, it alleges that all “people who bank at other financial institutions”

   that are not “minority-owned” are treated identically. Compl. ¶ 3. Accordingly, the core question

   of Section 1981—was your race relevant?— is answered “no” by the Complaint. See id.

          Because of that necessary conclusion, the Complaint seeks to skirt these rules using the

   rubric of “Associational Discrimination,” Compl. at 11–12, and by claiming that their purported

   association with “non-minority” owners of the financial institution where they bank gives them a

   Section 1981 claim. Id. ¶¶ 2, 23. As explained below, this is not the law. Were the Court to

   permit this case to proceed under this breathtakingly broad construction of Section 1981, it would

   work a radical transformation beyond anything Congress authorized, or the courts have approved.




          8
             For that matter, nor do Plaintiffs allege any differential treatment among “people who
   bank at financial institutions that are ‘minority-owned’” based on their race; on Plaintiffs’ telling,
   they are all equally able to access the fee waiver program. Compl. ¶ 3.


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          B.      Section 1981 “Associational Discrimination” Claims Still Require a Showing
                  of Discrimination Based on the Plaintiff’s Race.

          So-called “Associational Discrimination” claims are cognizable under Section 1981 in the

   Eleventh Circuit in a specific circumstance that Plaintiffs here seek to elide, namely, those like

   interracial associations where the plaintiff’s race matters to the allegedly discriminatory conduct

   by the defendant. Because Plaintiffs’ claims arise outside that interracial context and because

   Plaintiffs cannot allege that their race otherwise matters to their claims, they cannot rely on

   associational discrimination and their claim must be dismissed.

          Plaintiffs seek to rely on Parr, 791 F.2d at 892, for the proposition that Section 1981 makes

   actionable a claim for discrimination against a person based on “the race of who they associate or

   do business with.” Compl. ¶ 2. Neither the Eleventh Circuit’s Parr decision, nor the other circuits

   that follow that decision, have ever endorsed so sweeping a principle.

          In reality, what Parr holds is that a claim “of discrimination based upon an interracial

   marriage is cognizable under [S]ection 1981.” 791 F.2d at 890. Parr was a white man married to

   a black woman, id. at 889, who alleged a prospective employer discriminated against him “because

   of his interracial marriage,” id. at 890. The court concluded the Section 1981 claim was actionable,

   importing similar principles from Title VII, because “[w]here a plaintiff claims discrimination

   based upon an interracial marriage or [interracial] association, he alleges, by definition, that he

   has been discriminated against because of his race.” Id. at 892 (second emphasis in original).

          Echoing this, Judge Newsom (the author of Fearless Fund) recently recognized for the

   Eleventh Circuit that Parr’s “language and logic” undermine the contention that a plaintiff need

   not invoke one’s own “protected class” in order “to state a claim for discrimination so long as one

   is discriminated against because of association with a member of a protected class.” Matamoros

   v. Broward Sheriff’s Off., 2 F.4th 1329, 1335 (11th Cir. 2021). As helpfully summarized by



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   another court in this Circuit, “[t]hose cases applying the associational-discrimination theory in [ ]

   a § 1981 context have involved association or relation by the employee with a person of the

   opposite race, and thus, logically, are examples of [a defendant’s] discrimination against the

   [plaintiff] on account of the [plaintiff’s] race, since underlying these cases is racial animus due

   the employee of X-race being associated with a person of Y-race.” Nuzzo v. Baranco, No. 1:17-

   CV-1811-MHC-AJB, 2018 WL 11488950, at *14 (N.D. Ga. Jan. 22, 2018) (citing Parr, 719

   F.2d at 892) (emphasis added).

          Many other circuits understand Parr the same way. See, e.g., Frith v. Whole Foods Mkt.,

   Inc., 38 F.4th 263, 272 (1st Cir. 2022) (citing Parr to conclude that Title VII permits interracial

   association claims, but not claims where “all that matters is the race of [other] persons” besides

   the plaintiff); Holcomb v. Iona Coll., 521 F.3d 130, 139 (2d Cir. 2008) (“[W]here an employee is

   subjected to adverse action because an employer disapproves of interracial association, the

   employee suffers discrimination because of the employee’s own race.”); Floyd v. Amite Cnty. Sch.

   Dist., 581 F.3d 244, 250 (5th Cir. 2009) (“The association cases are predicated on animus against

   the employee because of his association with persons of another race.”) (citing Parr, 791 F.2d at

   892); Tetro v. Elliott Popham Pontiac, Oldsmobile, Buick, & GMC Trucks, Inc., 173 F.3d 988, 994

   (6th Cir. 1999) (relying on Parr to conclude that a “white employee who is discharged because his

   child is biracial is discriminated against on the basis of his race”) (emphasis added).

          Here, Plaintiffs’ theory of discrimination does not arise in the interracial context, nor does

   it depend in any way on the race of the Plaintiffs. Per Plaintiffs’ allegations (and in reality),

   Citibank treats white or black out-of-network customers identically. Indeed, as noted, Plaintiffs

   do not disclose their race or ever allege that Citibank considered (or even knew) the Plaintiffs’ race

   when determining whether they would incur an out-of-network ATM fee. Put more simply, while




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   Citibank’s ATMs require a user to enter his or her personal PIN, they do not ask any user to enter

   their race.

           Nor could Plaintiffs claim otherwise since minority-owned institutions are bound to serve

   customers of every race equally. See, e.g., 15 U.S.C. § 1691(a) (Equal Credit Opportunity Act).

   The only critical fact that matters, per Plaintiffs, is the race of the owners of the financial institution

   where they bank—if those owners are white, then supposedly a white plaintiff (and a black

   plaintiff) are equally disadvantaged. In other words, the plaintiffs’ race is not a but-for cause of

   the alleged discrimination. See Bostock v. Clayton Cnty., 590 U.S. 644, 656 (2020) (“[A] but-for

   test directs us to change one thing at a time and see if the outcome changes. If it does, we have

   found a but-for cause.”).

           That associational discrimination claims lie only where a plaintiff’s race matters to the

   claim (i.e., the interracial context) also follows from the Supreme Court’s decision in Domino’s

   Pizza, 546 U.S. at 473–74. In Domino’s Pizza, McDonald alleged discrimination against a

   company he owned on the basis of his race, which thereby caused him economic and emotional

   injury. Id. The Court unanimously rejected his ability to assert such a claim in place of his

   company, even though he was the sole shareholder and the alleged discrimination against his

   company was on the basis of his race. Id. at 476. The Court emphasized that treating Section 1981

   as a “remedy for all racial injustice”—contrary to “text” and “congressional intent”—would

   produce “satellite § 1981 litigation of immense scope.” Id. Even though McDonald’s theory

   seemed modest (permitting suit by the target of discrimination for harm to his own business),

   accepting it “would permit class actions by all the minority employees of the nonbreaching party

   to a broken contract” or “any company failing to receive a contract award” so long as they

   “alleg[ed] that the reason … was racial animus against them.” Id. Plaintiffs’ expansion of Section




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   1981 goes far beyond McDonald’s theory, to approve a wide swath of satellite litigation from

   individuals unable to even plead that their race—let alone “racial animus against them”—drove

   any decision. Id.

           C.       Plaintiffs Fail to Plead Sufficient Facts to Support Their Supposed
                    Association.

           As explained above, Eleventh Circuit case law forecloses Plaintiffs’ associational theory.

   But that theory also fails because Plaintiffs have failed to allege sufficient factual matter to support

   an associational theory, in any event, for two reasons.

           First, the Complaint asserts that Plaintiffs are being penalized for associating with

   “individuals of a [non-minority] race,” specifically, the “owne[rs]” of their financial institutions.

   Compl. ¶¶ 4, 23. But Plaintiffs do not state whether their financial institutions are in fact majority-

   owned by non-minority “individuals,” rather than (for example) investment companies like

   BlackRock, who Plaintiffs note in their Complaint as the “second-largest shareholder” of Citigroup

   itself. Id. ¶ 16. 9

           Second, even if Plaintiffs had alleged individual natural persons “own” their financial

   institution, the only “association” alleged between Plaintiffs and any such persons is that Plaintiffs

   state that they maintain a banking account with that financial institution. Id. ¶ 6, 7. Accepting that

   theory has two problems. Initially, it would require the Court to reject the conclusion of some



           9
              Large publicly-traded financial institutions like Bank of America or Wells Fargo are
   likewise owned in significant part by institutional investors like Vanguard and BlackRock that, in
   turn, are not natural persons. See Wells Fargo & Company, SEC Schedule 14 A, at 143,
   https://www.sec.gov/Archives/edgar/data/72971/000007297124000084/wfc-20240315.htm (last
   visited July 9, 2024); Bank of America, SEC Schedule 14A, at 48,
   https://www.sec.gov/Archives/edgar/data/70858/000119312524064529/d529855ddef14a1.pdf
   (last visited July 9, 2024); see also Ryzhov, 634 F. Supp. 3d at 1111 (information “available on the
   websites of government agencies” judicially noticeable on a motion to dismiss for failure to state
   a claim).


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   courts (not yet resolved by the Eleventh Circuit) that “a significant relationship—such as an

   intimate or familial relationship” is required “to support an associational discrimination claim.”

   Lowe v. STME, LLC, 354 F. Supp. 3d 1311, 1314–15 (M.D. Fla. 2019) (citing cases); see Nuzzo,

   2018 WL 11488950, at *14 (concluding that “[c]ases applying the associational-discrimination

   theory require a significant relationship between the employee and the third party”).

           Finally, it would require the Court to hold, without authority, that an arm’s-length

   transactional relationship with an entity constitutes “association” with its shareholders—who,

   assuming a publicly traded bank, are unknown to Plaintiffs and constantly changing. Cf. Equal

   Emp. Opportunity Comm’n v. STME, LLC, 938 F.3d 1305, 1319 (11th Cir. 2019) (concluding a

   statutory associational discrimination claim under Americans with Disabilities Act could not be

   based on “contact with certain unknown individuals,” but only a “known association” with a

   “specific disabled individual”).

           The Court should reject Plaintiffs’ unprecedented proposed expansion of the associational

   discrimination doctrine, particularly where they appear to have strategically omitted even the most

   basic details about their financial institutions and their supposed “owners.”

           D.      Plaintiffs Do Not Allege Any Discriminatory “Contract” That They Can
                   Invoke.

           The Section 1981 claim should also be dismissed because it is not based on any “contract”

   that Plaintiffs allege was discriminatory and that Plaintiffs either entered into, or wish to enter into.

   Plaintiffs recognize they cannot participate in the contracts between their financial institutions and

   Citibank. Compl. ¶ 23. As such, Plaintiffs’ Complaint attempts to manufacture a different

   interaction that they seek to attack using Section 1981. Indulging every possible inference,

   Plaintiffs appear to allege that they and other out-of-network individuals who are customers of

   financial institutions other than Citibank enter into implied unwritten contracts with Citibank at



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   the time they use a Citibank ATM. See id. ¶ 21–23. Plaintiffs then seek the benefit received by

   those customers of ATM Community Network participating banks, who are able to withdraw funds

   from a Citibank ATM without paying any fee. If that latter arrangement is the alleged contract

   that Plaintiffs seek to enjoy (and none other is available), the problem for Plaintiffs is that the

   arrangement that Plaintiffs covet is entirely unsupported by consideration and therefore is not a

   contract. There is, as a matter of law, no contract between Citibank and those customers because

   those customers give no consideration to Citibank when they use a Citibank ATM. This too dooms

   Plaintiffs’ Section 1981 claim.

          First, Section 1981 grants “[a]ll persons” the “same right … as enjoyed by [other races]”

   to “the making, performance, modification, and termination of contracts, and the enjoyment of all

   benefits, privileges, terms, and conditions of the contractual relationship.” 42 U.S.C. § 1981(a)–

   (b). The Supreme Court recognizes this as an “explicit statutory requirement that the plaintiff be

   the ‘perso[n]’ whose ‘right … to make-and-enforce contracts,’ § 1981(a), was ‘impair[ed],’

   § 1981(c), on account of race.” Domino’s Pizza, 546 U.S. at 478 (ellipses in original). See also

   Comcast, 589 U.S. at 335–36 (Section 1981 allows a plaintiff to bring a discrimination claim when

   he is being denied “the same opportunity to enter into contracts as [a defendant] extends to white

   offerees” (or members of another race)).

          In other words, Congress enacted Section 1981 as a carefully-calibrated statute that only

   “offers relief when racial discrimination blocks the creation of a contractual relationship, [or]

   when racial discrimination impairs an existing contractual relationship, so long as the plaintiff has

   or would have rights under the existing or proposed contractual relationship.” Domino’s Pizza,

   546 U.S. at 479, 476 (emphasis added). The Supreme Court has consistently interpreted Section

   1981 in line with the historical design of this and other similar Reconstruction-Era civil rights




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   laws, namely, to secure “the great fundamental rights”, including “to make contracts”, necessary

   to put formerly enslaved Americans in parity with “freemen.” Jones v. Alfred H. Mayer Co., 392

   U.S. 409, 432 (1968); see id. at 441 (“It is idle to say that a man is free who cannot … buy and

   sell, who cannot enforce his rights.” (emphasis added)). None of that is to undermine that Section

   1981 should be understood “to proscribe discrimination in the making or enforcement of contracts

   against, or in favor of, any race,” and thus “protect whites as well as nonwhites.” McDonald v.

   Santa Fe Trail Transp. Co., 427 U.S. 293, 295 (1976). But it is to recognize that the evil Section

   1981 sought to rectify is an abridgment of the right to contract.

          Second, Plaintiffs do not plead that they seek “the same opportunity” to create a contractual

   relationship like that between Citibank and the participant institutions in the ATM Community

   Network, since Plaintiffs themselves are not financial institutions. Comcast, 589 U.S. at 335–36.

   Nor do Plaintiffs seek to plead any “impairment” of any “proposed contractual relationship” that

   the financial institutions where they bank might enter into with Citibank. 10 Domino’s Pizza, 546

   U.S. at 479, 476. Instead, Plaintiffs allege—in a single conclusory sentence—that “[b]y imposing

   ATM fees for one set of customers but not others, Citi’s Policy denied Plaintiffs and Class

   Members the enjoyment of ‘all benefits, privilege[s], terms and conditions of the contractual

   relationship’ between Citi and users of its ATMs.” Compl. ¶ 60 (quoting 42 USC § 1981)

   (emphasis added).




          10
               That approach would be unavailing since the Network contracts their financial
   institutions would need to enter into with Citibank explicitly disclaim any third-party beneficiaries.
   See, e.g., Ex. B, § 9.3 (No Third-Party Beneficiaries). See Moore v. Grady Memorial Hospital
   Corporation, 834 F.3d 1168, 1175 (11th Cir. 2016) (holding that absent contractual intent to confer
   third-party beneficiary status, a Section 1981 claim cannot proceed).


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          To be viable, a Section 1981 claim must allege that the discriminatory arrangement

   challenged is indeed a “bargained-for exchange supported by good and sufficient consideration …

   in other words, a contract.” Fearless Fund, 103 F.4th at 775. See also Cochrane v. Greener

   Energy, LLC, No. 20-82154-CIV, 2021 WL 9563201, at *3 (S.D. Fla. Sept. 17, 2021) (explaining

   that “mutual consideration” is a necessary element for a contract under Florida law) (Singhal, J.).

   By contrast, “gratuitous promises” will not be enforced by courts because they lack consideration

   from the opposing party. See, e.g., 17A AM. JUR. 2D CONTRACTS § 102 (Gratuitous promises

   distinguished) (“The consideration, in the legal sense of the word, of a contract is the quid pro

   quo, that which the party to whom a promise is made does or agrees to do in return for the promise.

   Courts attempt to prevent the enforcement of gratuitous promises. When one receives a naked

   promise and the promise is broken, he or she is not worse off than previously . … Such promises

   are not made within the scope of transactions intended to confer rights enforceable at law.”

   (emphasis added)).

          Eleventh Circuit precedent holds that a Section 1981 claim cannot proceed where the claim

   relies on an agreement that lacks consideration. See Jimenez, 596 F.3d at 1309 (“medical staff

   privileges” could not constitute “consideration” on implied contract as they were wholly

   revocable); Johnson Enterprises of Jacksonville, Inc. v. FPL Grp., Inc., 162 F.3d 1290, 1311–1313

   (11th Cir. 1998) (“It is a fundamental principle of contract law that a promise is not enforceable

   unless it is supported by consideration.”). Similarly, in a decision that binds the Eleventh Circuit,

   the pre-split Fifth Circuit held that a claim alleging racial discrimination in the placement of a

   wedding announcement in a newspaper could not “arise under the right to contract” under

   Section 1981 because the “newspaper received no pecuniary [or other] consideration from any




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   person” submitting their information for potential publication. Cook v. Advertiser Co., 458 F.2d

   1119, 1122 (5th Cir. 1972). 11

          Again, the Eleventh Circuit’s recent decision in Fearless Fund is instructive for drawing

   the line. There, Fearless Fund disputed that any “contract” was being extended to the winners of

   its grants, contending its grant program amounted to “discretionary gifts.” Fearless Fund, 103

   F.4th at 779. In turn, the plaintiff (represented by the same counsel as here) freely conceded that

   Section 1981 places no restrictions on “true ‘charity’” or “anyone … giving away their money for

   free.” Reply Br., Fearless Fund, No. 23-13138 (11th Cir.), 2024 WL 81432, at *1. Nor did the

   Eleventh Circuit question that premise. See Fearless Fund, 103 F.4th at 779 (“Fearless isn’t simply

   donating money; it’s orchestrating a bargained-for exchange in which both parties obtain valuable

   benefits and undertake meaningful obligations.”). Instead, the court based its decision on the

   premise that a plaintiff does need to show the benefit it sought were issued pursuant to a contract

   but found that the contest rules clearly set forth a contract, where both parties exchanged valuable

   promises (and the agreement was originally designated “A CONTRACT”). Id. at 776.

          Here, Plaintiffs’ Complaint does not suggest any “good and sufficient consideration”

   offered by the fee-waiver ATM users to Citibank. Id. They do not plead that such free-users of

   the ATM who bank with other financial institutions offer Citibank anything of value or incur some

   detriment or offer some promise to access the free ATM service. But see Fearless Fund, 103 F.4th

   at 775 (contest winner, in exchange for $20,000 and valuable mentorship, “grants Fearless

   permission to use its idea, name, image, and likeness for promotional purposes and agrees to




          11
             Pre-1981 decisions of the old Fifth Circuit constitute Eleventh Circuit precedent. See
   Bonner v. Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).


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   indemnify Fearless to arbitrate any disputes that might arise”). Rather, the fee-waived ATM users

   simply receive a gratuitous benefit that they themselves cannot enforce. 12

           In sum, Section 1981 is an appropriate vehicle to vindicate a right to enter into a contract

   on the same terms as another, without reference to race. But it is not an appropriate vehicle for

   these Plaintiffs to challenge a non-contractual arrangement under which they have no rights.

  III.     These Plaintiffs Cannot Assert a California-Unruh Act Claim.

           In addition to their Section 1981 claim, Plaintiffs also bring an Unruh Act claim “on behalf

   of themselves” and a “California Subclass.” Compl. ¶¶ 33, 62. The sole conduct Plaintiffs allege

   is that they “used a Citibank ATM” once each, either in Plantation or Fort Lauderdale, Florida in

   June 2023 (id. ¶¶ 7, 8). See also id. ¶ 11 (alleging venue here “because a substantial part of the

   events giving rise to [their] claims occurred in the [the Southern] District [of Florida].”); Civil

   Cover Sheet 1 (ECF No. 1-1) (indicating that “First Listed Plaintiff” Becker resides in “Broward

   County, FL”). These two Plaintiffs alleging only Florida-based conduct cannot assert an Unruh

   Act claim, on behalf of themselves or anyone else, notwithstanding their proposed class

   certification.

           The Unruh Act, California Civil Code § 51 et seq., prohibits various forms of

   discrimination against “[a]ll persons within the jurisdiction of this state.” Cal. Civ. Code § 51(b).

   In light of its clear text, “[i]t is well-settled that the Unruh Act applies only within California.”

   Loving v. Princess Cruise Lines, Ltd., No. 08-cv-2898, 2009 WL 7236419, at *8 (C.D. Cal. Mar.



           12
             Plaintiffs’ citation in the Complaint to a case involving a discriminatory price differential
   provides no help. See Compl. ¶ 21 (quoting Williams-Ellis v. Mario Tricoci Hair Salons & Day
   Spas, No. 05 C 5030, 2007 WL 323490, at *4 (N.D. Ill. Nov. 1, 2007)). That type of case
   involves a quintessential contract—the offer of a good or service in exchange for money. In
   Williams-Ellis, the defendant agreed to provide the black plaintiff-customer a haircut for $65 while
   offering to provide the same haircut to a white plaintiff-customer for $40. See id. at *1–2, 4.


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   5, 2009); accord, e.g., Huber v. Biden, No. 22-15443, 2022 WL 17818543, at *2 (9th Cir. Dec.

   20, 2022) (Plaintiff “cites no authority applying the Unruh Act extraterritorially, nor offers any

   basis to overcome the statute’s plain language or the presumption against extraterritorial

   application of California law”); Moore v. Greyhound Bus Lines, Inc., No. 15-CV-1186-CAB

   (MDD), 2018 WL 3361395, at *2 (S.D. Cal. July 10, 2018) (collecting cases for the proposition

   that “Unruh has limited geographical scope and only applies to discrimination that takes place

   within California”). So an ATM charge incurred at a Florida ATM offers no basis for the

   application of the Unruh Act. All Unruh claims in the Complaint must therefore be dismissed.

   See, e.g., Moore, 2018 WL 3361395, at *2 (denying leave to amend as futile to add an Unruh claim

   based on events “in Denver, Colorado”); Huber, 2022 WL 17818543, at *2 (affirming dismissal

   of Unruh claim because plaintiff did “not allege that she suffered the challenged discrimination

   while in California”).

          Seeking to certify a putative class action does not eliminate the need to have a named

   plaintiff who can invoke the Unruh Act. To represent a class against a defendant on a particular

   claim, “it is not enough that a named plaintiff can establish a case or controversy between himself

   and the defendant by virtue of having standing as to just one of many claims he wishes to assert.

   Rather, each claim must be analyzed separately, and a claim cannot be asserted on behalf of a class

   unless at least one named plaintiff has suffered the injury that gives rise to that claim.” Griffin v.

   Dugger, 823 F.2d 1476, 1483 (11th Cir. 1987). As applied to state law causes of action with no

   extraterritorial reach, class-action plaintiffs “may assert a state statutory claim only if a named

   plaintiff resides in that state.” Goldstein v. Nonni’s Foods LLC, No. 22-81462-CIV, 2023 U.S.

   Dist. LEXIS 34048, at *7 (S.D. Fla. Feb. 28, 2023); see Nuwer v. FCA United States LLC, 343

   F.R.D. 638, 648 n.4 (S.D. Fla. 2023), reconsideration denied, No. 20-60432-CIV, 2023 WL




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   4370737 (S.D. Fla. Apr. 5, 2023) (Singhal, J.) (declining to endorse view “that a named plaintiff

   has standing to bring a representative claim based on a statute from a state in which he does not

   reside”). And neither Plaintiff here claims to be a California resident or to have been injured in

   California.

          Finally, “[b]ecause of the similar analysis applied to both § 1981 claims and Unruh Act

   claims, courts may analyze § 1981 and Unruh Act claims together.” Blackshire v. Cnty. of Yuba,

   648 F. Supp. 3d 1221, 1237 (E.D. Cal. 2023). Accordingly, the Unruh Act claims should also be

   dismissed for the above reasons that Plaintiffs’ Section 1981 claims fail. 13

                                            CONCLUSION

          The Court should dismiss the case for lack of Article III standing. In the alternative, the

   Court should dismiss with prejudice the Section 1981 and California Unruh Act claims.




          13
             Plaintiffs invoke federal-question jurisdiction for their Section 1981 claims and seek to
   bring their Unruh Act claims via supplemental jurisdiction under 28 U.S.C. § 1367. Compl. ¶ 10;
   see Civil Cover Sheet at II (Basis of Jurisdiction). Plaintiffs’ Unruh claims fail on the law, as
   described. But after dismissing Plaintiffs’ Section 1981 claims, the Court may also “decline to
   exercise supplemental jurisdiction,” a practice which “the Eleventh Circuit encourages” when
   dismissal comes before trial. Johns v. Tony, No. 22-61356-CIV, 2023 WL 9327362, at *2 (S.D.
   Fla. Dec. 20, 2023) (Singhal, J.) (declining jurisdiction over state law claims where Section 1983
   claims were dismissed with prejudice), appeal filed, No. 24-10172 (11th Cir.).


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   Dated: July 10, 2024               Respectfully submitted,

                                      /s/ Eliot Pedrosa
                                      Eliot Pedrosa
                                      Florida Bar No. 182443
                                      epedrosa@jonesday.com
                                      JONES DAY
                                      600 Brickell Avenue, Suite 3300
                                      Miami, FL 33131
                                      Telephone: (305) 714-9700
                                      Facsimile: (305) 714-9799

                                      Jayant W. Tambe (admitted pro hac vice)
                                      Alexander V. Maugeri (admitted pro hac vice)
                                      JONES DAY
                                      250 Vesey Street
                                      New York, NY 10281
                                      Telephone: (212) 326-3939
                                      Facsimile: (212) 755-7306
                                      amaugeri@jonesday.com
                                      jtambe@jonesday.com

                                      Christopher Pagliarella (admitted pro hac vice)
                                      JONES DAY
                                      51 Louisiana Avenue, N.W.
                                      Washington, D.C. 20001
                                      Telephone: (202) 879-3939
                                      Facsimile: (202) 626-1700
                                      cpagliarella@jonesday.com

                                      Attorneys for Defendants




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 10, 2024, I electronically filed a true and correct copy

   of the foregoing document with the Clerk of the Court by using the CM/ECF system, which will

   send notice of electronic filing to all parties at the email addresses on file with the Clerk of Court.


                                                            /s/ Eliot Pedrosa
                                                            Eliot Pedrosa
                                                            Attorney for Defendants




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